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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


DANA-FARBER CANCER INSTITUTE,               )
INC.,                                       )
                                            )
            Plaintiff and                   )
            Counterclaim Defendant,         )     CIVIL ACTION NO.
                                            )     10-11613-DPW
v.                                          )
                                            )
GATEKEEPER PHARMACEUTICALS,                 )
INC.,                                       )
                                            )
            Defendant, Counterclaim         )
            Defendant, and Cross-Claim      )
            Plaintiff,                      )
                                            )
v.                                          )
                                            )
NOVARTIS PHARMA, A.G., NOVARTIS             )
INTERNATIONAL PHARMACEUTICAL,               )
LTD., and NOVARTIS INSTITUTE FOR            )
BIOMEDICAL RESEARCH, INC.,                  )
                                            )
            Cross-Claim Defendants and      )
            Counterclaim Plaintiffs.        )


                     SETTLEMENT ORDER OF DISMISSAL

WOODLOCK, District Judge

     The Court having been formally advised that the above-

entitled action has been settled on 9/24/13       with respect to all

parties;

     IT    IS   ORDERED that the above captioned matter be, and it

hereby is, DISMISSED without costs and without prejudice to the

right of any party upon good cause shown within 30          days, to

reopen the action if settlement is not consummated, otherwise the

parties shall file a Stipulation of Dismissal or an Agreement for
     Case 1:10-cv-11613-DPW Document 430 Filed 09/24/13 Page 2 of 2



Judgment with the Court no later than 10/24/13 .



                                            BY THE COURT,

                                            /S/ Jarrett Lovett
                                            Deputy Clerk

Dated: 9/24/13
